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                           EXHIBIT
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                                                                                                                       5r6.393.8220
                                                                                                         ecchlcrlneer@lrqrrnll p.cnm


                                                                        Pobruary 1.2022

        IllA.Uurflueldrtl
        Honorable foan M. Azmck
        Llnlted Statos Dlstrlct Court
        Bastern Dlstrlcl of Ncw York
        100 Federal Plaza
        Central lsllp, Ncw Yor*71722

                          Rc:       U.S.v.   Manjrno

        Dear fudge Azrack

                I am   wrltlng thls lettcr as somewhat of an expeft on Long lsland polltlcs. I bellevc an
        lnJustlce has bcfallen Bd Maryano.

               By way of background, I was counsel to the Nassau County Democratlc County
        Commlttec lrom 1977 untll 2015, almost 40 ycarc. Amongst my roles was advlslng on
        candldate selectloO negothtlng lnter party derls wlth the Ropubllcan Party and the mlnor
        pertles, reprtsentlng all Democrrtlc candldates ln electlon matters and representlng
        Democratlc elected offlclals ln'polltlcel controvcrsles,'

                 Durlng my tenure I also repres€nted many gov€rnments lncludlng Nassau County,
        Sulfolk County, Towns ln both countles, Vllleges ln both countles and a substantld number
        of school dlstrlcts, weter dlstrlcts, flru dlstrlcts, sanltatlon dlstrlcts and other speclal
        dlstrlcts.

                I am the managlng         prrtner of one of the leadlng llrms on Long lsland,

              Whlle no one thought to come to me for my experttse dudng the trlal, as I am                                               a
        promlnent Democrat, there was an assumptlon thet I would not be helpful.

                                                                             whcrc Ed Mangano
                I reprcsented Tom Suozzl ln thc count and recount of the electlon
        squeaked out a vlctory for County Exccutlve by about 1000 votee. No one on elther slde of
        the alsle expected Suozzl to lose that electlon.



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                                                                                                                  Honorrble foan M, Azrack
     JnsreN       laa                                                                                                      February L,2022
         a!a      ScHLesNcrn
                  attoirtrt      at laF       m                                                                                               Page 2




              loseph Mondello, then Rapubllcen County Chalr, had slgnlflcant troubl€ llndlng a
        candldate to oppose Tom Suozzl ln thet electlon. ln the peloratlve of back room polltlca, Ed
        Mangano wes the last man left ln the room and not powerful enough to say no.

              Contrrst thls wlth fohn Vendltto, thc Oyster Bay Supervlsor who was I long tlme
        powerful member of the Republlcen lnner clrcle. He had a son who becamc an clected officlal
        and was able to atmostgo toe to toc wlth toe Mondello as I Republlcan power broker.

                   ln my oplnlon Ed Mangano had no ablllty to cause fohn Vendltto to tlo anytiinB.
        Unllke Ncw York Clty, where thc mayor has substantlal power, the Nassau County Bxecutlve
        has no pow€r to cocnco I town supewlsor to teke any actlon other then to ask 'pretty plcasc."

               Nclther ln the food chaln of thc Republlcan Party or ln the powor structure of the
        dlfhrlng governmenB, County and Town, could Bd Mangano, havs exerted prossure to
        convince lohn Vendltto to approve the lorn at lssua

               Whlle t wss not at tha trlsl and do not know all the testlmony, from what I understand,
        Bd Mangano attended a meetlng wlth lohn Vendlno on behalf of hls frlcnd to esk Vendltto
        "pretty please" help hls frlend.

                   It ls, ln my humblc oplnlon, glven my cxtenslve knowledge of all the Polltlcal playere
        It was lmposslble for Bd Mangano to have done anythtng more,

                Thts lener was not sollclted by 8d Mangano but ls sent because I belleve an lnfusUce
        ls belng done end, as a key pleyer inslde Long lsland polltlcs at the tlme, I can say wlth
        certalnty that there ls no way Bd Mangano dld anythlng mors than ask lohn Vendltto to help
        Slngh, 'prctty please," nor dld hc havc the power to do anythln


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                                                                                                          ngor




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                                             Lewis |. Yevoli
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       Mcmbrr, Ncw Yrxl $talo Ammbly 1y75 - l90l                                    Supolror, '[own ol Oyrtr lhy   1992 -   l9l7




      February 15,2022

      Honorable Joan M. Azrack
      Unlted States Dlstrlct Court
      Eastern Dlstrlct of New York
      100 Federal Plara
      Centrallsllp, NY \1722

      Dear Honorable Joan Azrack,

      My nrmc ls Lcwls Yevoll, I am wrltln8 this letter on behalf of Edward Mangano. I am a llfe long
      Democrat who served as an elected offlclal for 28 Years ln Nassau County at E tlme when lwas
      consldered the bastlon of the Republlcan Party. I mentlon thls only ln the hlstorlcal context as lt
      relates to the followlng:

      Iflrst met Ed Mangano ln 1996 when I was Oyster Bay Town Supervlsor and he was the newly
      elected Nassau @unty Leglslator representlng several communltles ln the town. A that tlme,
      Bethpage was plagued wlth contamlnatlon thot threatened the publlc wrtcr supply. A wcek or
      so after hls electlon he me wlth mc to dlscuss the sltuatlon and he offered to work wlth me ln
      seeklng a solutlon to thls serlous problem. lt was refreshlng to have a local offlclal put partlsan
      polltlcs aside ln the publlc's best lnterest, Over the years thls was a tralt Ed Mangano frequently
      dlsplayed on a number of lssues.

      When I was no longer ln offlce former constltuents would often call me and ask lf I could help
      wlth a partlcular Sovernment entlty. lf the matter lnvolved Nassau County I would reech out to
      Ed Mangano who was alweys courteous and responslve. lnvarlably the constltuent would tell
      me how helpful Ed was ln resolvlng the rnatter. Deallng wlth government bureaucracles can be
      a dauntlng experlence. Undoubtedly thcre are untold number of lndlvlduals whose llves were
      much lers frustratlng because Ed Mangano took the tlme to better advocate.

      Obvlously, my experlences wlth Ed Mangano on the publlc's behalf were poshlve. I am certaln
      my statements c.n almost certalnly be echocd by many others. I polnt thls out to the court ln
      the hope the posltlve aspects of Ed Mangano's decades" ln offlce wlll be consldcrsd ln hls
      sentenclng.



      Respectfully,



      Lewls Yevoll
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                                  John Ciampoli, Esq.
                                     39 Garfield Place
                                Massapequa, New York 11758
                                                 518-527-12r7
       f"ebruory 9,2022

       llon. Jonn M. Azrnck
       U. S. District Court Judge
       tJnitcd Statcs District Courr
       liostcrn District of Ncw York
       l,ung lslnnd Clourthousc
       100 lredgal Plazl
       Ccntral lslip. NY 11722

       RE: Scntcncing, Edward Mangano

       Dear Judge Azrock:

                I   lnr writing to thc Court with rcgard to thc scntencing of Mr. [dward Mangano in thc
       hopcs ol'providing somc insight us to thc persorr thut thc Court hos belbre it. that might not huvc

       comc ('rut previously.
                Needless to say, I writc with a heavy heart. in that   it   is   dillicult to see o liiend fall liom
       groce 0s hos occurrcd hcre, I recognize that this is not thc plocc for my opinion as to guilt or

       innoccncc. lt is not thc placc for my opinion on thc law. 'Ihot is now part of an appcals process

       that. ns I undcrstond, will go fonvard.
                I huvc llrcudy relbrrcd to Fd Mangano    Bs   a friend. l-le govc mc the opprrtunity to scrvc
       thc   poplc of Nsssau Counly as County Attorncy, As you         can imagine. it was 0 g,rest honor and a
       carecr htllmark to be thc Nasssu County Attomey. lt was o wonderful opportunity to pnrtner
       with a mon who wss a dcdicated public servont. 'l'he lid Mangano I grcw to know was co:nmittcd
       to doing what was right for lhe people who clected him. He was loyal and true to his fricnds.              lle
       repcntcdly wcnl out of his rvay to help others.
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               I bclicvc that my observations herc arc objcctivc.'l'his is bccausc. in oddition to prnviding
       mc with 0 grcot clrcer opportunig, hc tlso took that position uway frum mc whcn he tcrminatcd
       my oppointmcnt 0s County Attorncy. Surtly that action hurl mc whcn it occurred, Many bclievc
       rhnt I should bc nngry ot that action. I rm not. becuuse it wrs his right as Clounty Executivc to
       chooss his uppointccs. My regrot is that I was nol uble to counscl hirn so ss to svoid thc

       prcdicumcnt he now finds himsclf in.

               My lost words to Ed Mangano 0s County Attomey includcd. "Be careful of the peoplc
       uround you who prctcnd to be your fricnds.'l'hcy    will   get you in trrtublc.". I did nol know how

       pruplrr:tiu tltosc wortls would bc.
               lndecd, onc of thc core rcasons lid Mongano slands hcforc you right now was his
       willingncss to help pcoplc and particularly, to help those he considercd to bc l'ricnds. As County
       l:xccutivc. hc was bcsicged by thosc secking some sorl of fuvor. benelit, or occommodation,
       Mnny mudc it thcir task lo hidc thcir dcsircs bchind professed "l'ricndship". ln my vicw, Ed
       Mnnguno's worst fault was in not choosing his fricnds wiscly: and bclicving thosc who prolbsscd
       lricndship so thnt thcy could profit.
               I did not know Ed Mangano wcll before his election in 2009. I camc lo know him when

       rcprcscnting him in thc post - elcction rccount of his race. To paraphrasc Ed's wotds.'whcn you
       orc lockcd in n room with somconc lbr 20 hours a day you gct to know eoch other very well'             -
       that is what hoppened to us. I saw o candidote who did nol $cc it    o..l   bcncatlr hinr going out to gct

       lunch for the volunteer sltomcys working on the csse; or dclivering watcr bottlcs to them us thcy
       workcd. His prcsencc and attitude bolstcrcd thc rnoral of our tenm. ln conlrsst, his opponcnt was
       nevcr around.
               'l'his bchavior is not very common in thc world ol'govemment and politics. tjd's lack of

       pretensc and genuine conscrn for those helping him set ltim apart. lt lbctorcd into my dccision to

       occcpt his offcr to bc Nossau County Attorney.
               My judgment of his characlcr was rcwardcd whcn I partnered with him to lakc on thc
       govcrnoncc of one of thc largcst suburbon countics in thc nation. lid carcd about what hc was

       doing. ond about thc pcoplc hc was doing it for. Dcspitc the fact thut his job confrontcd him with
       hugc dccisions to make; hc mlnagcd to lbcus on individuals. Virtunlly without cxccption. ljd

       Mnngano hrought his humblc caring attitudc to thc daily opcrotion ol'govcrnment.



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               l;rom o personal prspcctive, whcn I fell ill and nearly died in 201 l. Ed Mangano wm
       therc lbr mc. l'riends and hospltol staffmaryclcd at how thc County Exccutivc ttxrk thc timc to
       bc ot my bcdsidc. I wus not surprised. By this tinrc, I hud the chance to see Ed Mungono doing so

       mnny things to hclp pcoplc and adding to his work n pcrsonal touch. l-le was onc who would stop
       to chat with s receptionist, strikc up a convcrsotion with parks wurkcru 0l cvcnl$, or posc for         a

       picturc with childrcn. Whcn we had naturol disasters (during our tenurc wc cxpcrienccd             a

       hurricunc. a supcr storm, tornadocs and ovcn on carthquakc). l'ld Mangano wos "hands on"
       visiting thc victims and thcn mobilizing rcsources to get them what thcy nccdcd.
               ln slrort. I lrclievc thut stsnding bchrrc tltis (luurt, rtutwithslurttling thc ucts thul put hirn
       hclirrc Your llonor. lhcrc is a good msn. Civen thc chnrnctcr of this individual. who wo*ed his
       way through low schoola.lanitor to achieve his gonls: I um ccrtain that lld can turn his lilb
       around. I bcsecch this Court to givc    F/   Manguno un opp<.rrtunity to rcbuild his lilb and, again.
       contributc to society when imposing scntencc. Plcnsc realiz-c all that this man hss lost. lle has
       bccn punishcd. He dcscrvcs a chancc to rcturn to his fomily ond community and contributc aguin.
       I thnnk thc Coun for its attention.
       Vcry truly yours.

                                          i

           J               a




       John Ciompoli, l'lsq.




                                                                                                                    3
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                                                       Edward H. Ward
                                                     56 Stanford Court
                                                    Wanta3h, N.Y. 11793

       Honorable Joan M. Arrsck                                                                    2172122

       Unlted States DlsFlct Court

       Eastern Dlstrlcl of New Yort

       100 Federal Plara

       Central lslip, N.Y. 11722



       Dear Judge Azrack,



               My name ls Edward H. Ward cnd I om wrltlng lo you rcaardlng Ed Mangano's upcomlng
       sentencing,

                ln 1995, Ed and I m€t as wc wer€ both runnlng for electlon to tht flrst Nassau County
       Leglslaturc, Both of ur wore elected and served togcther for 4 years. I wtt not reelected ln 1999 as
                                                                                                               Ed

       was, however, I continued wlth Nassau County as the Dlrector of Communlcatlons       e nd Pollcy to the

       Republtcan caucus untll 2013, when he agked me to Joln hlm as Deputy County Executlve.

               Worklng totethor for over 20 yerrs I have alwayr found Ed rosponslble and of tho hlShest ethlce      I



       rtondards. He rlways worlted wellwlth lnterested groupr and nevcr compromlsed hls values. He could
       olways be countcd on to do the rlght thlng.

                tn that tlme,     Dw8re that he and Llnda were ralslng two sons. Both of whlch turned out to
                                twrs
       be protectors of the law, one as a pollceman and the othsr as an Asslstant Dlstrlct Attorney.

              ln 2020, I had r very serlour aortlc surgery. Ed pcrsonally vlslted me ln the hospltal and drove
                                                                                                         to ctt
       me home from the hospltrl. He vlslted me every day of my recov€ry. He brought me somethlnt
       each day and whcn my condltlon lmproved, hc would tske me out for a rlde or to 8et
                                                                                               somethlng to eat.

                                                                                              people use the
                Hls attentlon to my lllncss was beyond reproach and Sreatlv appreclated. Some
       saylng, "l trust hlm wlth my llfe.' ln thls case, ldid trust hlm wlth my llfe.

                His dedlcatlon to people ls beyond the norm and hls code of honor runs deep'

                I   respectlully requcst lenlencl for hls well-respected famlly'




                                                                             Edward H. Ward
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                                                   1289 Roosevelt Way
                                                   Westbury, NY 11590
                                                   February t0,2CI22




       Honorable Joan M. Azrack
       Unlted States Dlstrict Court
       Eastern Dlstrlct of New York
       100 Federal Plaza
       Centrallsllp, NY 11722

       Dear Judge Arrack:


       My narne ls Rlchard Turan and from 1979 untll 1999 I served as presldent of Brlarcllffe College.
       Edward Mangano was employed by the College as lts General Counsel for part of that tlme and
       I was hls lmmedlate supervlsor. The purpose of thls letter ls to share my personal and buslness
       knowledge of Mr. Mangano wlth you lor conslderatlon durlng your upcomlng sentenclng
       proceedlng.

       ln 1996 the College purchased a 240,000 squane foot bulldlng on approxlmately 18 acres ln
       Eethpage at the slte of the lormer Grumman Aerospace Corporatlon locatlon. That ls whcn I
       flrst met Mr. Mangeno who represented the communlty ln the Nassau County Leglslature. lt
       was lmportant to me and the Communlty that we becrme good nelghbors, Ed Managano was
       known, loved, and respected ln the communlty and he volunteered to make the transltlon
       successful,

       Over tlme, I wltnessed Ed's untlrlng devotlon to the resldents of Bethpage, the local flre
       department, the Chamber of Commerce, clvlc associatlons, etc. lf one of our students needed
       help wlth a government agency, Ed was there to help. Upon seelng flrst hand hls unselflsh
       devotlon to the communlty and lts rcsldents, I offered hlm a part-tlme posltlon at the College
       as General Counsel. Hls rcputrtlon at the College was that he was an honest advocate to help
       students, faculty and other members of the college communlty whenever he could.

       After I retlred from the College, a publlc company raorganized admlnlstratlve operatlons and
       selected Ed Mangano to become Dean of Continulng Education where he successfully provlded
       support for adult learners.
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                                     5987




                                               HOIIIORABLE JOAN M, AZiACK
                                               FEBRUARY   10,2022
                                               Pegc 2




     Ahhowh I hrd wo*nd wlth Ed on a drlly Buls whlle wt w.r. bofi at thc Colletr, my Gontmt
     wtth hlm rcorntly her bren mon 3porudlc. Howtrnr, I *lll conclde hlm to be a ftlmd who ls
     nodcst, tru$uorthy rnd oiln3. I rlncrruly hope firt you wllltrkc hls publlc srrvlcc and
     humrn decency lnto moount by bclng lcnlcnt ln your declllon.




                                                                 qttlh-r-


                                               Rlchard B. Tunn
Case 2:16-cr-00540-JMA-SIL Document 462-2 Filed 03/01/22 Page 11 of 31 PageID #:
                                     5988




         Ridrard RohnzPhD
         10 Spygloro tanc, Setnrlpt, IIY 11733
         631 905 5651,   5de$1gp@9!.gn richOroDanznndaccociatet.com




       Ilonorahle J<tan M. Azruck

        United Statcs District Courl

        Eastern Dlstrict of New York

        100 l,'ederal Plqza

        Central Islip, NY I1722



         I am Richard Rotanz PhD,fro^ Setauket, NY, I was lhe.first County
        Commissionerfor Emergency Managemenl, Ji'om July ol 2002, tct thc rummer
        o.l'2006, I am writing on behalf of Mr. Edward Mangano,former County
        Execulive of Nassau County regurding lhe upcoming

        At that time (2002), challenges were met in de
        agency regarcltngfunding, $a/!ing, equipment, and afacility to establish the
        County's new emergency operalion center. Veryfew counly legislatures had
        inlereil and/or even oJfered to provide any assistance, Mr, Edward Mangano,
        at thut time, Legislalure Mangano, reached crul to ask many questlons of this
        new agency and importance. The monthly phone call and hriefing led tct weekly
        inquiries, It was impresslve and assuring of the intcrest and support.

                                 I had worked in academia, then onlo co'developing
        A.fier leaving the County,
        thc tlpptiel Science Foundallon.[or Ilomeland Security (Bethptge, NY)' In lhis
                                                                          where the
       facitity is housed the countl,'s olfce of Emergency Management
        County's planning, exercises, and mitigation activilies occur along with




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        e,nergency op(lralion center.                 Il was here lhat I reengaged with then County
        Executive Mangano has heen personally involved with all mentioned activilies.

        Whal was impressive ahout Mr, Mangano was his steadfast persona and hls
        leadership during the devastating impact of Superstorm Sandy,2}l2. |'he
        dawling lashwas the managing the dozens of county agencies, coordinating
        among the municipalitiet frctm lhe ,ttute, the federal governmenl, lhree town-
        shlps, lwo citiar and dozens of vlllages. His demeanor durlng this epic event
        was remarkable, as well a,t reas*uring lo lhe slalf, the media, and the public, As
        alormer captain ctf FDNY, and Deputy Commission of Etnergency
        Managemenl, he perfttrmed as o nalural respondet'and leader,

        I hope lhls charucter descrilttion of Mr. Edward Mangano and request.lbr
        leniency cctuld considered beforc passing sentenclng



        Rcspectfully




        Richard Rotanz PhD

        ric   h(g) rotan zand   a   ssoi ca tes, so   m

        Richard Rotanz PhD I Linkcdln

        63t 905 565t
        www. Rotonzundassoc i ates. com




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lrttDrrlhran
tldr ltid Atr r.tn                       I am wrlting lhis letter on bohalf of Bdwurd Mangano, rogedlng your upcoming scrtoncing
l,r. ll. t| l.dhrp-rll!
Lolrllnhr.rUrllL                         procccdinB.
C. tryrntl/1yr16
Italtl. l.it Dav lahiltr
lrtU trir tllrr                          My namo is Grry Krupp I am prcsidont ond foundcr of Pavc the Way Foundrtion (P|'WF). Wo
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tdor l.u.Et0ix                           aro an intornationrl not-for-proflt foundatlon whh thc mlssion to   idcnlify non thoological
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Arld
Nrrl.|(oll.ldtrn                         Foundrtion opcrslec in l9 countries and has thc unusual rcputstion for bcing thc moct effoctivc
ArlEtb
AniFut Mi.Ldlfr                          orgonizrtion in tho world that no ono hrs ovor hoard of sincc wo offcclivoly work linm bchind
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lltH 0ilrll tl olYulrrlrn                tho sconos. Wo havo changcd the coursc of hlslory snd opcn historio gc$uros betwcon tho
Alrtuir Xi[r!                            world'r rcligionr. Plorso vislt our wcbaito for more information rt www.ptwf.org
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llrl*rn1 tlrc                            I first mst Edwnnl Manguro January 2009. Our rohtlonship has always bccn porsonal and non-
lr.lnd Or0mc llttl.t0lt)
f.Il                                     polltical has bccn charitablo and bcncvolent. I wish 0o shsrc with thc court my pcrsonal viowg
hdllm3LlYrh
?rrt      , lh..                         of Mr. Mangano. Ed hos becn r vory posltivc and curing mln who har quictly holpcd our
EI.r
ll (ltailmPtrt                           misgion li'om bchind thc sccnes for no nolorioty. In fact, as I 0m wriling thiu lator, Ed is
MlrH Ym0dlorl
Crln                                     hclping Pavc lho Way Foundation with an important projoct April 3-9, 2022,to bring tho
1lr hr ilrhdllanr
!il                                      "Musoum of Memory" of Assisi, ltaly to Tcmplc lgracl of Now Rochcllo and lo St, John's
lmNrdor                                  Univcrelty. Thesc ovonts illustratc tho lifcsaving cfforts to gavo ovcr 300 Jewish rofugocs by tho
tat
lurl'thcar                               clogy and citizons of Assisi, llaly during ths Holocsust. Thcuc will be foalurcd on an
ldl
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iro rhlfr
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lCnAr Chrmtr (l9fa'f016)
Aw Drild. Cat                            Pleasc lct me know if therc's any more lnlbrmation wG can providc to lho court ff wo are
,rry fh.r(l9ll.l0l l)                    sinccrcly t$king for lcnioncy ln your ccntencing. Perhaps sonridu communlty scrvlcc wlth
lrb
Grrdlrkr{nr                              Prvc thc Way Foundrtion to holp us to ond lho mdovolent us€ of rcllgion for prlvatc agcnda!,
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l{dttnl Arlryc (1066.101r}               whlch srdly impactr all of humrnity.
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Il..   U.ftcru                                             lly youn,
b.Ardr
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Case 2:16-cr-00540-JMA-SIL Document 462-2 Filed 03/01/22 Page 14 of 31 PageID #:
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                                      ncbiry Gfiobal Tith the Oospel"
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               Baptgt Church of Hempgteed rnocatnc,t'ruta!
                                      Hffi0PPEIL,UP E. ELUOffi,      PTLTI0R




     February t4,2022




     Honorablc Joon M. Arrack
     Unlted States Dlslrlct Court
     Eastern Dlrtrlct of New Yolk
     100 Federal Plara
     Centrsl lsllp, NY 11722



     To the Honorrblc Joan M. Arrack:


     My name ls Elshop Phllllp E Elllotl. I am wrltlng thls lettcr on lhe behalf of Mr. Edvrard P. Mangano
     regardlng hls upcomlng $entenclnS procccdlng.

     I am an Ordalned Pastor lor forty-slx yestlr rnd i€rye as the senlor prstor of the Antloch Baptlst
     Church of Hempstcad, NY for the last twrnty-slx yerrs. I s€ned as Deputy County Erecutlvc of Nasseu
     County Hcalth rnd Humtn Scrvlcer undcr thc leodershlp of Edward Man3rno for twehe yerrs.
     Servlng, ln thl3 posltlon, rffordcd me thc opportunlty to work dlrealy wlth Edward P. Mangano ln a
     personal and profeslonrlway. Mr, McnSono wrs ahrayr concerned wlth mectlng thc necd3 of tht
     Nossau County rrsidents,


     l, Blshop Phllllp E. Elllott, hsve known Mr. Edwrrd Mengano for over ten yeans. We hrve a slncere
     splrltualconnecllon, Mr. Mrryrno ls a u/arm, genulne, tespcctful, and splrltual pcnron. We would
     often pray belore meetlngs, mrJor declslons, events, ond actlvltles. Mr. Mangano would vlslt my
     church along wlth hls wlfe, Llndo, erpcclally, durlng our yearly Ecumcnlcal ond 'Holy week' servlces.   I

     was not only hls Ooputy County Exccutlve, but lwrs rlso rnd rcmaln hlr splrltualadvlsor and frlend.

     ln concluslon, lhe purposc of thls lcttcr ls to advocate an appeal of lenlence towards any charges or
     alleged wront dolngs of Mr. Edward Mrn3tno,

     Thank you for lavorablc conslderrllon tounrds Mr. Edward P. Mangano.




    -ffi6h{
     llishop t'hillip li. F.lllN
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                    Td:   (516)  la3-1a99 Frrf (3lO                  antlah hcmplcad{prol. com
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Case 2:16-cr-00540-JMA-SIL Document 462-2 Filed 03/01/22 Page 15 of 31 PageID #:
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                                            FROM TlIE OESK   Of

                                     DEREK A. GARCIA

                                                                               Februery8th,2022

      Honorable Joan M. Azrack
      Unlted States Dlstrlct Court
      Eastern Dlstrlct of New York
      100 Federal Plaza
      central lsllp, NY 11722


      Honorable Judge Azrack,

            Warm greetlngs to you and please allow me to lntroduce mysatf. I am Rev. Derel
      Garcla of Generations Church located ln Coplague, NY. I have served as a mlnlster slnce 2009
      and have been a part of varlous organlzatlons ln long lsland. I servc on the board of the
      Long lsland Hlspanlc Chamber of Commerce on Health as w0ll as the Long lsland Hlspanic
      Pastoral Assoclatlon. I am prlvlleged to serve as a Nassau County Police Chaplaln and serve
      on varlous commlttees as wlthln thc department as well. I have been able to serve along
      slnce dlfrerent elected and appolntcd officlals rnd I am eager to share a few detalls of my
      frlend, Mr. Edward Mangano.

           I   came to know Mr. Mangano when he was runnlng for County Executlve, Hls
      campalgn dld an excellent Job reachlng out to varlous communltles and I felt lncluded and
      heard as a resldent of our county, I was able to be at both of hls lnaugurations and felt
      proud of our top leader. We have done so mEny grqet thlngs under his admlnlstratlon and
      he was lncredlbly hands on. He would be present ln every event ln whlch we served the
      humble communlHes around us. We would meet regularly throughout the year at our
      request to keep hlm ln our prayers. We upuld work alongslde Mr, Mangano durlng the most
      troubllng times ln our Hlspenk communltles when MS-13 were affectlng the peace ln our
      nelghborhoods. I recall vlvldly how he would respond ln person and wlth Hlspanlc pollce
      offlcers to reassure resldents that Nassau County would respond to the threats and would
      remaln a sale place to llve. In my role as a chaplaln ln the pollce department, I would.meet
      wlth Mr. Mangano and our Pollce Commlssloner, among others, to dlscuss strategles to
      provlde language equlty ln our resourca pamphlet and forrns so that every resldent felt safe
      to go to the pollce wlthout fuar of belng mlsunderstood and reJected. Those moments made
      me so proud of hls care and work and a foy to work wlthln our county.




                     250 PINELAWN    AVT,    COPIAGUE. NY 11726       sr6.527-513B
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            Mr. Edward Mangano has always been a true gentleman to our communfi. He has
      shown respect to the dlverse groups that make up our county. We have spoken ln meetlngs
      and candldly and he ls the same person. Personally, I developed a great respect for hlm and
      hls famlly and contlnue to hold them rll ln hlgh regard. Hls wlfe Llnda ls a beaudful soul, and
      his boys are exemplary and now Sal ls servlng as a NCPD Offlcer and ls dolng an amazlng lob.
      I have personally seen the hard work and dedlcation he has put lnto hls posltlon. I conslder
      hlm to be a man of hls word and falr. I can attest that he has walked ln humlllty and ln falth.

            It ls my hope that thls leter can help glve a dlffurent perspecdve of the pe6on, Edward
      Mangano. I have seen how dlfficult thls tlme has been on hlm and hls preclous famlly and I
      would ask you fudge, for gnce and lenlency for thls famlly who hos glven so much to thls
      county. He served us well and kept us save under hls watch. Hls famlly sacrlflced tlme br
      hlm to be avallable to th€ 1.4 mllllons resldents as a leglslator and in the years he served as
      County Executive.

      lf I could be of any help br thc Mangano famlly, please do not hesitate to contact me at
      s16-527-5138.


      Slnce




      Department Chaplaln                          lead Pastor
      Nasau County Pollce Department               Generatlons Orurch
      515-375-6455                                 516,527-5138
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     ob
                                                [.rcbruary lO,2022

                                                Honorublc Joun M. Azrack
                                                Unitcd Stutes District Court
                                                Eustern District of Ncw York
                          l,lraty, trlttnltlt   l00l.redcral Plaza
                                  lloln         Central lslip. NY 11722
                        rl.,
                               lrr   llhp
                                                Dcar l{onorablc Judgc Azrack:
'(irrrrr nrg S'rrua(r'r''liryttln'r"

Foundor I Erecullve Dlreclor                    My namc is Cil Bcrnardino. I tm the Fountlcr and thc Exccutivc
Gil Bsrnardino                                  Dircctor of Cfrculo de lu Hispanidud. a nonprolit 501 (c) (3)
                                                orgunizution eritilblishcd in l-ong Bcach. Ncw York, in 1980. I um ulso
BOARD OF DIRECTOBS                              thc Foundcr of Evcrgrccn Chorlcr School in Hcntpstcud. Ncw York, u
                                                frcc public school authoriz.cd hy thc Ncw York State Education
Prerldent                                       Dcprrtmcnl ilnd thc Bonrd of Regenls in 2fi)9.
Leo FornArdoz

Treagurer                                       I hlvc known fur:ttcr County Exccutivc Ed Mungano lirr ntorc thun
Hoctor Martlnez                                 lwcnty ycilrs. I havc lrcnlcndou$ rc$pcct und udmirution for his
                                                contributions to thc Nussau County Hisplnic Ctlmntunity ilnd thc
Secrelary
OsrnAn Canales
                                                cotnmunily nl lurgc.

Mcmbea at Lergc                                 Lel me tell you a lltll€ tboul my.self ond how former County
                                                Dxecutlve Ed Mangano hos helped my communlty. Thenks to hls
                                                support, tens of lhousands of Hlrpanlcs have hed and wlll huve r
Marro l:rg;uoroa

Sylvana l.oyola                                 hetler llfe. They have and wlll be able to recelve needed servlces to
                                                help thelr fnmllles und themselves.
Anry Flores

                                                I hirve lived in the United States sincc   974, I am an ittttnigrunt tcachcr
                                                                                              I

                                                frnnr Spain. Whcn I l'irst cumc to l-ong lslund, I witncsscd firsthund
OFFICES
                                                thc trcnrendous discrinrinution itnntigranls laccd, I pcrsonally
20 Wosl Pork Avonuo                             cxfrcricnccd mrny, ntany challcngcs. Aftcr ovcrcoming hugc ohstaclcs.
Long Fonch, Now York t1681
Tol          (510f 431 ll35
                                                I dccided thul, inslcad ol' tcaching, I could hc nrost hclpful to nly
Fnx          (5t81 431.?307                     comrnunily by cstublishing u nonprolit orSsnizution to hclp othcr
                                                irnnrigrunts like me, I left the sufety o[il leirching position in Nsw York
9lNorlh |rfinklin Slrool                        City lnd foundcd Cfrculo tlc lu Hispunidld.
Hontpeload. Now York I 550                1

fol  (!'rl6) 232.2433
                                                One of my drerm$ wu$ the conslrucllott of Cfrculo's Conrmunlty
f:rrr        (5181    n?-7792
                                                Cenler. Durlng conslrucllon we found conlamlnotlon of the roil
Crrculo Conlor
                                                that resulted ln dclays. 'fhls sllt was lhe former site of the Nrssau
605 Ponlnrule Eoulovnrd                         Counly reglonnl posl ofilco msny yesr$ previously. County
t{o?npslottd, Now York I 1550                   llxecullve [,]d Mangano provlded esnentlol supporl to the prdect
Tol   (516) 282.ot45
Fnr (510) 282.0146                              lhrough a communlty grant thut enabled us to complete esrentinl
                                                Jcsturer of the bulldlng. Toduy the sltc ls used for cducutlon
                                                classrooms rnd pnlgrummlttg.




                                                               "A COMMUNIIY.   IAX EXEMPI NON.PROFIT OROANIZATION"
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                                                                                     www.cdlh.org
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    Now thc Community Cenler ix the sitc of Evcrgrccn Chortcr School, u public frec cducutional
    inslitulion, in thc Villngc of Hcnrpstead. approvcd by thc New York Stutc Dcpurtment of
    Frlucation.

    Thc school is supporting the futurc und cducalional nccds of 8-50 studcnts currcntly. Evcrgrccn
    was lbunded to providc HOPE und FUTURE for children, Huving thc Community Ccntcr
    finishcd with thc support of County Executivc Mangano nreuns that hundreds ol'childrcn havc
    thc opportunity to huve u rigorous cducation that prepareli them for succcss in school und in
    lifc.

    Wc ure very, very gratcful for thc understunding and actions taken by County Erecutive
    Mangano lo supporl con$lnrclion hrrild oul thnt now hns rcsultcd in providing so mony heneflls
    kl hundruds of chlldren cvcry day, every yerr.

    l-lononrhlc Judgc Joan M. Az.ruck, I hop nry lcttcr convcyri thc rcspcct I hlvc for Ed Mungano
    and l'or whul he has done for thc Nnssuu Clounty Comnrunity, including thosc in ntost need.

    Ecl Mungruto is cornpu.ssionutc und has u big   hcurr. Plcusc takc this into considcration r$ you
    tttakc ytrur dccision.

    I anr vcry thunkful lbr your itttcntion.

    Sinccrcly,




    C;          tn0
    Foun     nnd Exccutivc Director
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     llonorrble Jorn M. Azrrck,
     tlnltcd Stnlu Dhlrlcl Clourl
     Enrtcrn Dlntrlct of New York,
     lil) Fcdcrnl Plrrr, Centrrl lsllp
     NY I t722

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     'l'hc Missionory A6rstolic Nctwo*.



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        llonorable loan M. Azrack
        United States Dlstrlct Court
        Iiastern District of New York
        100 Federal Plaza
        Central lslip, N,Y. 11722


        l"lonorable Joan M. Azrack,

        My name is Rev. Leslie Gomez, Sr,. I am the Pastor of lglesla Cristiana Unlda, lnc.
        located at 155 Fulton Avenue, Hempstead New York 11550.
        I lrave been the pastor of the church for over 40 years. I am writing thls lettcr on
        behalf of Ed Mangano wlth regards to his upcoming sentencing proceeding.


        l, Reverend Leslle Gomez, Sr., have known Ed Mangano since 2011. Mr. Mangano
        was in office during this tlme. On many occaslons, myself along with some pastors
        fom the commulty, would go see Mr. Mangano at hls office to meet in prayer for
        himself, hls famlly and the commuity. We would dlscuss better ways to support the
        community and help those most in need. We came up with ldeas on how to support
        the youth in our communlty as wellas the elderly.

        My thoughts on Mr. Mangano ls that he ls a person of good moralcharacter.
        Although it may be hard for you to believe, he was devoted to hls comunlty and
        supported them ln every whlch way that he could. Desplte the grleve allegation that
        he has faced ln recent tlmes, Mr. Mangano ls a very humble man, willing to help
        those in need and supportive of the commulty ln whch he live. Hls devotlon to the
        communlty has led to many good works ln soclety as well as the Nassau County
        communlty. 0n December 15,2017, Mr. Mangano presented an OfficialOfflce of the
        Executlve Citation to several pastors in the Nassau County area, myself belng one of
        the reclplents, He presented thls to the pastors ln thc commulty for working wlth his
        ofTlce, the commuity and the church diligently in upholdlng the principles of human
        decency and denronstratlng a selfless commlttlment to the County of Nassau
        resldence along side him. The meetings myself and other pastors of the commuity
        had wlth hlm always lead to a Sreat and productlve outcome for the cltlz.ens of
        Nassau County.

        It is my hope that you take notlce and consideration of my letter of recommendation
        fot'Ed Mangano and conslder lenlency ln hls case.

        Sincerely,
        Rev, Leslle Gomez, Sr. Pastor
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                                            HISPANIC BROTHERHOOD, INC.
                                                  59 CLINTON AVENUE, ROCKVILLE CENTRE, NY II57O
                     Oflice Phone: (5 I 6)766 -6610/7 66-663 9 . www.hispanicbrotherhood.net


                                                                                                       Margorita Grasing
                                                                                                       Exuutlve Dlrcctor
BOARD OF DIRECTORS
                     Februrry 9,2072
Yndiono Scltzcr
PRESIDENT

Alcx Ccpro
VICE PRESIDEN'T
                     Honorable Joan M. Auack
lillcn   Grossrnnn
SECRT,TARY
                     Unltcd States Dlrtrlct Court
                     Erctcrn Dlstrlct of Ncw York
Diolnary Cabrera     1fl}Faderul Plur
TREASUREIT
                     Centrrl lrllp, NY 11722


                     DeorJudge   Arrrd:
                     I wrlta to 1ou   ti th! €xcculhrc Dlrector of r nonprofft that prorlder r multitudc of
                     servlcsr to thc low lncome lrtlno populrtlon h       Nrssru County. ThG purpo$ of my lener
                     ls to rddrcrs former Counly Exccutlve Ed Mrngano't upomlng srnt!nclng proccedtng.

                     Durlq thc 8'yrrn of Ed'c rdmlnbtratlon, he rupported th€ dlfhrunt progrumr we
                     provldc lo rcnlors rnd frmlllcs ln Nrs$au, We ars tho only [rtlno orgrnlrrtlon thrt
                     provlder r $onlor Nutrltlon Progrem flvc dryr pcr week, rcrvlng ovar 6ff)0 hot mcals to
                     low lncome canlors, Wlth Ed's support, our progrsm hrs contlnucd to $rva our
                     communlty. Llkcwln, wlth hls support wa hava contlnucd our After SchoolTutorh3
                     Projrlm, ! pno3nm thrt contlnuously       ls   on the chopplng block when lt comes to the
                     Counffs budgct.

                     Ed hu rlweyr bccn rupportlw to our communlty. I have a frlcndly rchtlonshlp wlth
                     both, Ed, rnd hb lovcly wlfe, Unda. Thry havc eddcd countlasr benclltr to tha [.tlno
                     communlty ln NGrru County, I trl fpr lcnlcncy. lt ls my bellef they hrve olresdy ruffcrcd
                     punlshmcnt,



                     Slnce



                     Ma        G
                     Cxccutlve 0l




                                                 m*
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        Itev. Jose Chnver
        Ministcrio lntcrnacionnl l;c cn Accion
        I   l'llrrront Rd,
        [ihnont, NY I 1003




        llortornblc Jrxrn M. Azrnck
        thritcd Stntcs l)istricl ('oun
        lilsle.rrr l)istrict ol'Ncrr York
        100 ljedernl Plaza
        (lcrrrrul lslip. NY I l7?2




        l-lorrorablc Jonn M. Azrack:

        My nnme is Rev. Josc Chaver from Ministerio F'c cn Accion locatcd in Elnront. Naqsou
        County.l'his lettcr is lo pcuccfully nsk ftrr lcniency on hehnlf of Mr. lidwnrd Mongano and
        his upcomlng scntcncing procccding,

        Wilh llte gracc of God, I hnve been pasloring my church for npproxinrately l0 ycars in tlrc
        city of Illmonl in Nassau County, 'l'trroughout the years. I havc bcen invited to pnrticipate in
        comntttnily cvenls on behalf of the churches of lhe county. ll rvns during his term ns Nassnu
        counly Exccutive lhal I was able to meet Mr. Mnngnno peruonally. I havc had thc opporlunity
        t(t pray lirr him alongride olhcr pmlors of lhe ureu, l)urlhermore. lle hns bccn very supportivc
        of our clturchcs nnd wos presenl in alnrost cvcry public cvont thc church hosted likc thosc in
        Eisenhowcr Park. His advocncy and support lbr our churchcs is greatly npprecinted and is onc
        of lhe rcasons I havc agreed on writing this lcttcr to you,

        Mr. Edwnrd Mnngano has served our community with grent dignity nnd humility which has
        lillcd ntc with grctt npprccintion. Seeing him rnakc nn nppcsrsncc to vnrious church lrostcd
        evcnls was cvidencc of his servitudc nnd supprrl to l-lispnrric psstors and their churches. llis
        rcqucst lbr our prsycrs in his ollice will surcly bc unlbrgcilablc lirr allol'us.

        As a pastor. nnd receiver of Mr. Mangano's hclp and support, I do ask for you to considcr
        lcnicncy on his bohalf. As n believer of second opportunities. grnnting leniency will fill our
        comnrunity with.ioy,.

        Regnrds,



         w?rq&."'
        Rcv, Josc C'hrver
Case 2:16-cr-00540-JMA-SIL Document 462-2 Filed 03/01/22 Page 23 of 31 PageID #:
                                     6000




                      EI TABERNACUO DE OOZO, INC.
                      70 gcHooL sT.
                       OLEN COVE, NY 11642
                       br0,033.0773
                       SALVAqARCIA@AOL.COM




                                                                                                        Fcbrurry 4,2022


  Horrornble Jonn M. Azruck
  Unitcd Statcr District Court
  Eu.rtcrn Dictrict of Ncw York
  100 Fcdcral Plazn
  csnrrol lrlip, NY I l?22


  My numc is Salvrdor Oarcin, lm tho foundcr and prcrcnr prstor of ElTbbcmrculo dc Oozo. I'm wriling
                                                                                                     this lctter in
  rhc hopes thnr it will bring somc light to thc kind of pcrsorr Mr. Edwlrd Manglno rcally is.

  I hnvc known Mr, Mongrno for ton yearo, md in that rime I hsvc scon many atpcots of hir pcnonality'
                                                                                                       I hnve nlwryr
  found hlm to bo cxlronr.ly t inO, dcpcndcblc and  wcll regardul among our fctlow ptcion for hir wondsrful dispori'
  tion and ovrilibility to our llirponic community.

                                                                                                      ycarl, Rnd it wra
  I rlco scrvod ns tho tbo pr$idcnt of LIHpA (Long lrland Hisprnic Postoral Arsociation) for s0vcn
  during this time that Mi. Ed Mangrno rnd I dovolopcd r wondcrlirl rolationship whilc wc both     wsro trying to sorvc
                                                                                                       without  s voico
  our bcloved Nassru County. Hc i'as instrumcntrl in many of thc thingr wc nccomplishcd for thoao
                                                                                                      ho rccoptcd out of
  in tliffcrent comrnunitlcs, Scvcrat timcs wo wmted to honor him in our unnurl gnla, but only oncc
  rc,spcct fbr me. gc nevor wsntd to take any orcdh nor uio our gathcrsingis as s photo-op flor hic
                                                                                                    owtl politicrl grin. I
  forirrd that umozing in a world of big ogor. i elso, admircd his commitmcnl to hle family nnd thocc
                                                                                                       who workctl
  urtdor him.

                                                                                                                pnrvidco
  ln thc boloncos ofjusrico, thsre rre many facrors thut help form dccisions and it ic my hopc thnt lhis lctter
  woighr on thc sitlqof morcy anrl lonicncy. Hir ssrvice to tho Nrrseu County community     tl l0rge hclpd    so marly
  pcoplo during his sdministrltion'

  Bcing in thc rcdcmprivc lino of work thrt I do, and knowing firghhond how my l,ord nnd Stvior Jegus
                                                                                                        Christ hgs
                                                                                                           for a
  paid ihc pric€ to saro ,nc rnd thc world from enor und cvit ond giving uc a rccond chrnco. I aok hurnbly
  sccond chrncc ftorn you for Mr. Edwrrd Mrngano.

  si


  Rcv, Sulvador        0




                                      AP6SIOT TATVAOON Y NEUTA OANCIA

  MAnCOS t6:15 -      v    tES DtJO: tD POll IODO Et MUNOO Y PnEDICAO Et tvANGEl,lO A IODA CnIAIUnA
Case 2:16-cr-00540-JMA-SIL Document 462-2 Filed 03/01/22 Page 24 of 31 PageID #:
                                     6001




                                             Pastor Edward Melendez
                                                 292 Carollne Ave
                                              Garden Clly NY 11530
                                                  516-642-1975
                                             Ed rnelerrdez@rnrail,cetr!

     Honorable Joan M. Arrack
     United States Distrlct Court
     Eartern Dlstrlct of New York
     100 Federal Plara
     Centrallsllp, NY 11722


     February 2,2022

     Re: Ed   Mrngrno


     To Honorable JudBe Joan Arrack,

              My nrmc lt Edwrrd Mclcndcz rnd I hrvc been the senlor pastor oI Froternldod Crlstlona Church
     of Hempstead (Chrlstlan Fellowrhlp) for thc prst 16 years. We are a local church that ls currently servlnS
     thc Spanlsh communlty ln the hcrrt of Hcmpstcrd NY, I am also recognlred as a member of the U.S
     Federal Chaplaln Agency and part of tha tstln Amerlcan Chaplaln Assoclrtlon of Long lrland.
     It was through the chaplaln assoclatlon that I was ablc to mcrt former Nassau County Executlve Ed
     Mangano.
              I wrs ablc to work close wlth hlm over both tcrms es he opened the doorc for a few local pastors
     and me to meet once a wcck for prrycr. Thc fact that he velued the lmportance of pnyer for our
     county spokc volume3 to m€ rbout hls character. lt always lmpresscd mc how much rcspect hc
     showed us and hls collcrguer. Ho rhrays remcmbcred to ask about my famlly and my mlnlslry because
     he consldered me as a frlcnd.
              Ed Mangano has always been an uprlght charecter ln our county and always showed a
     slgniflcant amount of support ln the dlfferenl outreach and communlty scrvlce events we held over the
     years. He was a standup guy who really cared rbout our communlty and passlonate about servlng the
     underserved.
              To be honest, there are not many polltlclans that I would wrlte r letter for but Ed Mangano ls
     deflnltely an upstandlng man of charrcter and lt ls wlth honor that I stand for hlm on hls behalf and
     wrlte thls letter. I undentand the serlousness of thls matter howavar, I prry thrt the court wlll show
     some lenlency.
      It ls my slncere hope that lhe court takei thls letter lnto conslderatlon at the tlme of sentenclng.
     Detplte the current cage, I gtlll belleve Ed Mangano to be an honorable lndlvldual, a valuable member of
     my community and a good man.

     Slncerely,




     Pastor Edward Melendez
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                                     6002




   Rohcrr Essig
   359 Stewart Avcnuc
   Bcthpagc, NY I l7l4
   5   l6-375-3 123

   F'chruary 12,2022

   Rc: &lward Mangano

   To'lhc    Honorable Judgc Joan M Azrak
   ljnitcd Statcs DisUict Court
   F.astern l)istrict of New York

   My name is Roberr Fssig. I am writing this lcttcr on bchalf of Edward Mangano rcgarding his
   upconring sentencing.

   I have knorvn lil Mangono sincc 1994 whcn lld and his wife t.inda built a bousc down thc block from
   my howe. ln that time our t'amilies grew together and became very close as we raised children, nhared
   holidoys, and went on mony vacations togethcr. Ovcr thc ycan I was proud to call Lrl my fricnd as I
   watched him risc in his carccr.

   Fd's bcginning in politics camc from a gonuinc dcsirc to help pcople. Bcginning with thc Bcthpagc
   ground wal,cr icsuc, lld was alwnys willing to gct involvcd lo hclp makc things bener. His involvement
   lcd him to thc County Executivcs Officc.whcro hc continued to fight for the pcople of Nassau, Seems
   likc cvcry time wc were togcthcr whethcr out for somc r0ason or at his housc therc was always
   somconc stopping by or calling that nccdod assistancc. Ild was ncvcr too busy. Ed always took thc call.
   lid would tbllow with some words of advicc. or a phone number for sommne who could help, or
   would take the pcnons number and promisc to gct back to them as soon as hc could invesligate the
   issuc. Hd's position was nevcr more important thsn the people hc rcprcscntcd. Hig caring was novcr
   morc cvidcnt thcn during Supor Storm Sandy whcn I wntched Ed work l8-hour days trying lo gct
   Nnssau and its rcsidcnts back on their fcet.

   I om oworc of the seriousncss of these chorges. It is my hopc that thc court willtaka this lettor into
   considcrntion whcn passing scntence on this man who has donc so much for so m8ny.

   I'hank you for taking thc time to rcad this lcttcr.


       Lo/6
   Sincerely
   Robcrt lissig
                      z    ry
Case 2:16-cr-00540-JMA-SIL Document 462-2 Filed 03/01/22 Page 26 of 31 PageID #:
                                     6003




     Wllllam Erady
     145 Haypath flobd
     Old Bethpate, NY 118O4

     Re: Edward and Llnda Mangano

     To the Honorable Joan Arrack,


     I am   wrltlng thls letter   as a   penonalreference for Edward Mangano.

     I have known Ed for more than 20 yeers 8s e resldent of my communlty. I understand the serlousness of
     thls matter. Howcvcr, whlle ln dcllbcrutlon ovcr thr flnal sentenclng, I ask thst you take lnto
     corrsklerallon the steadfast convlctlon Mr. Mangano has shown throughout hls career as a publlc
     seruant to the people of Bethpage, as wellas Nassau County.

     From hls   tlm.                     Mr. Mrngano hrs time rnd tlme agaln shown a commltment to the
                       as County Leglslator,
     betterment of thc llves of hls hllow rcsldcnts. Whllc Mr. Mangano's rGccnt dlfflcultler are well known, I
     havc experlencc hlm at 8 smart, carlng and thoughtful pcrson. I havc rlso experlanccd hlm as a
     compesslonate p€rson who corcs sbout hls communlty. A good cxamplc of thls occurred ln 2002. I was
     at Eethpage Communlty Park Ploytrround wlth my youngest daughter Courtney, when t notlccd a PBS
     labcl (a NY Hazardour Waste)on thc fencc. I contacted Mr. Mangano's offlce lmmedlately and
     expresred my concern. Shortly after my call, hundreds of people met at Bethpage Hlgh School to hear
     the TOB and DEC's plans on deallng wlth the mess, I remember Ed standln6 ot the podlum, rtallng'l
     want thls cloanod up". Hc went rbovo and bcyond and slnce then and monltorlng wells have been
     lnstalled throughout thc communlty.

     We can only hope thst our llves are ludted on the totallty of what we have done, and not on one
     partlcular phase of our llves.

     I truit you wlll take thls letler lnto conslderatlon   as   you determlnc thc,ust rcaolutlon of the matter
     before you.

     Slncerely,
     Wllllam Erady
Case 2:16-cr-00540-JMA-SIL Document 462-2 Filed 03/01/22 Page 27 of 31 PageID #:
                                     6004




     Suran Brady
      145   llayprth Road
     Old Bclhpagc, NY I lt04

      Ro: Edwrrd end Linda Mrngrno

     'lb tlro Ilonorablo   Joan Azrack,

     I hrvo known lidwrrd rnd Lindr Mrngrno for ovor 20 yoan rnd am happy to writo a lottor of roforoncc
     rcgarding this mrtbr. I underrtrnd tho roriouncsr of thir matlor. Flowcvor, I hopo llro coud willrhow
     somo lcnicncy,

     My chlldrcn attondod cchool wllh Edwrd rnd Linda's kidr. Thoir som wota alwayr roepootful rnd klnd
     young nrn, whioh is a rcflootlon of thoir groat prmntlng. Bvor aftor long work dryr for both of thom,
     Fdward and Lindo novor sklppcd r bcrt rnd woro rlways involvod wlth planning and atlcnding rchool and
     communlty activitlor.

     As s homsowncr in Narsru County, Bdwrrd Manglno hac dono mrny good thlng for lho rosidonB, such
     at tho propody tdx rlssrcmont ryotom and oconomic dovolopmont, whioh hor bonofittcd ell of ur,

     I boliovo Ed and Lindr rro a hugo rscot to our community.

     It    lincorc hop you talo thic lottcr into conridcation at lho timo of contcncing. Dorpito dro ctrmnl
          io my
     caso, I   rtill
               boliovo Bdwrrd rnd Lindr Mrngano rro hononblo individuah, valurblo mombon of our
     community rnd good human bclngr.

     Sincorcly,
     Susan Bredy
Case 2:16-cr-00540-JMA-SIL Document 462-2 Filed 03/01/22 Page 28 of 31 PageID #:
                                     6005



   Alcx lUnngrno
   I ljnirvicrv lnnc
   Plitinvtcrv,   NY I ltl0.3
  (516) n6r)-504{r

   I lonomblc Jonn IU, r\zrnck
   Illll lrctlcrrrl l)hzu
  (lcntral lslip, NY I1722

   Rc: l.incln N'lnngnnrr   rnrl lidrvard N{angnno

  l)crr,f urlgc Azrack,

            I\'ll nrtnc is Alcx Nlltnlpno, I am thc !r)ungc.\t son ol'l.intl:r lnrl l:d lvlnngnno nnd proud ro mll rhcrn
  Nftrttr rurtl l)ad. I undcrstnn<l thc scriousncnr of tlrin cnsc lncl npprccintc rlrc tlcctrton thnt vou nrust rnnkc
  rcgnrding scntcncing. I lm rvritirrg this lcttcr to proviclc n smnll insrght inro rny pnrcnts and nsk w)u to tilkc
  tltis intn corrtidcrntion rvhcn 1,ou mnkc yrur dccision.

          r\ll ntv lifc mv p;rrcnt.{ hnvc instillctlrvitlrirt rny,brrrthcr and mysclf tlrc imponrrrrcc of givingbirck to
  lhu cotnmttnitv nnd hclping otlrcrs rvltcncvcr prlssiblc, rrntl thirt is sfint lrotlr nrv pitrcnrs huvc clonc thcir cnrirr
  Itvcs,


              \\ritlr rcspcct to m)' clnd. hc was n public officinl sincc I s'ns thrcc ycnrs oltl, Somc of rn1, cnrlicsr
  mcntttrics lrc of lrim rvnlking drxrr to drxrr in thc crrmmuniq' to find out whlt rhc issuui rvcrc nnd horv hc
  corrltl ltclp srtlvc thcnr. I lc spcnt ro much of his frcc tirnc hclping orlrcrs, bur lrc nhvny's mn<ls rimc ftrr hix
  lhrnill'. Ant' tirotlnll gittnc. litcnrssc Anmc, pincrvrxrcl rlcrbl', or sclrrrol funcdon. hc mndc surc lrc rvls tlrcrc, All
  rhc rvhilc instilling in mc rvhrt is rcquirccl to bc u gorxl pcrson. I hnvc ncvcr rnct n m()rc dcdicntctl nnd lrnrd-
  $'otktttg tll.tn tn rny lil'c, rtnd I could onll' anpirc to hnvc hrrlf thc n'ork ctlric hc docs. I rvill nhvnys bc proud of
  trtl'tlrttl :rttd rrll thc grxrtl thinp hc hns ckrnc firr $o m$nt'pcoplc. llc hns hccn, nncl c()nrinucs to bc,n krving
  firthcr lnd gorxl pcrson,

             As to mv tnrltn, sltc ir trulv onc of :t kintl, Shc hns givcn so nruch to 6() mnn'' pcoplc rvithout so rnuch
  ns a sccontl tlrought, When sotnconc nsks         hcr frrr hclp with somctlring shc sn)$ )'cs bclorc rlrcy crrn cvcn linish
  lltc scttlcttcc. Wlrilc ctlitrng nrrtl pulllishinH il nc\\'rifrnpcr, shc n'n.s nctivclv involvccl in cvcry singlc nnpcct of m1'
  chilcllrorltl nn<l schrtolitrg, 'llrcrc was not a singlc cvcnt thirt lrappcngd in our hornclon,n or in my, iclrool rlur
  llll' ll)onl tlitl not voluntccr firr or tn' to hclp in somc rvn1,, slrlrpc, or firrrn. Shc trull'rvoultl h111,c 1,ou sccontl
  gucss tltlt tlterc nrc r)nh' nvcnty-frrur hrturs in n tlay. r\{1' monr hns not iust bccn n mr)m to mc. but ;r scconcl
  lll()rll lt, iust nbottt cvcry singlc lricnd I evcr hilcl. Slrc is l gcrruincll'clring pcrrlrl rvhrl rvoulcl givc up
  cvcq'thing shc hns ittst to hclp somconc clsc. l;rorn voluntccring rirncs ilr soup kitchcrrs on lrolidny's ro srrtrtirrg
  Itn rrpioid rcc(rvcrl gr(rup, nhc is nn lmrtzing pcrson rvlro hns nln,n!'s rlr:tlicrltctl tilnc to hclping otlrcri,

             lJotlt of mt' pnrcnn trrught mc nlxrul harcl rvork, pcrsonrrl rcsponsibilit|, giving hack, ancl sinrply tlorng
  tlrc right thing. I rvoukl nrrt bc thc pcrsorr I lrn toclnl'rvlthour tlrcm. I coukl tvritc lrunclrccls of pngcs filr ltorlr
  ol lnv pnrcnls, bltl thcrc rvrll ncvcr bccn cnough wortls to <lcscrrbc lr.rw firrtunnte nnrl pnlud t :un to cnll tlrcrrr
  ln()lrl iln(l thtl. Plclsc tlo nrrt hcsitatc to crrntact mc if 1'ou slroultl rcrprirc nlrl'furrhcr infrlrrnntion,

                                                                          Sinccrclv,
                                                                               o %.=-
                                                                          nf* lting,ffi-
Case 2:16-cr-00540-JMA-SIL Document 462-2 Filed 03/01/22 Page 29 of 31 PageID #:
                                     6006




     021ts12022

     Honorable Joan M. Azrack
     Unlted States Dletrlct Court
     Eastern Dlvlslon of New york
     100 Federal Plara
     Centrallsllp, NY LL722

     Honorable Judge Joan Azrack,

    I om wrltlng you ebout my parenls Ed & Unda Mangano. tt ls extremely
                                                                              dlff,cult to for me to
    wrlte thls letter as my par€nts mean the world to me and thls lettcr would be never
                                                                                            endlng lf
    I even attempted to expleln Just how much I love them both. However,
                                                                            I wrlte thls to attempt
    to explaln to you how I feel and allow you to try and vlew thlngs from my perspecgve,

    The reason I am the man I am today and the reason I have accompllshed all the thlngs
                                                                                            l,ve done
    so far ln my llfe ls all due to my parants. They were there br me from the stand helplng
                                                                                               me
    wlth my plne wood derby cars to graduatlng from the Nrssau County pollce Academy, my
    parents were always there for me. I couldn't lmaglne what
                                                              llfe would bc llkc wlthout them
    around and by my slde. They are my rove, support, happlness, confldence end hope.

    Llfe has certalnly thrown us a few curveballs along the way. Each and
                                                                          every one was a learnlng
    experlence and my parents have always told me to keep my head hlgh and nevor,
                                                                                       ever glve up.
    They taught me that famlly and frlends are what ls most lmportant rnd they
                                                                                  always made me
    reallze the lmportrnce of belng klnd, gvlng and compasslonate to others. My feai,
                                                                                        vour Honor,
    ls the thought of them not belng able to help me ralse my future chlldren
                                                                              wlth the same
    examples of love, klndness and morals that they have and contlnue to lnstlll ln
                                                                                    my brother Alex
    and l.

    ludge Azrack, I beg pu to have mency and be lenlent when lt comes to declded
                                                                                       my perents,
    future' Golng through not one but tnro trlels, belng dragged through every newspaper and
    belng every herdllne story hrs been some of the hardest thlngs that my famlly
                                                                                      has cndured. tt
    has been physlcrlly, emotlonally, mentally rnd flnanclrlly dralnlng. tt makes tt hard
                                                                                           to keep the
    falth and have hope and that ls why I am wrltlng to you todoy. puttlng my perents ln
                                                                                            fall would
    not serve any putpose besldes fcedlng medla headllnes. They have been put through and have
    been llvlng through hell slnce thls started. Please
                                                        ludge t beg you, please be the ,.rron hope ls
    not lost and see lt ln your heart to be merciful rnd comprsslonate.

    Hopefully,




   Salvatore A Mangano
Case 2:16-cr-00540-JMA-SIL Document 462-2 Filed 03/01/22 Page 30 of 31 PageID #:
                                     6007



                                    EDWARD MANGANO
                                         7 Nicholas Court
                                    Bethpagc, New York     ll7l4


                                               F'ebruary 28,2022



  Ilonorable Joan M. Azrack
 United States District Court
 Eastern District of New York
 I 00 Federal Plaza
 Central Islip, NY 11722

                                Rlet United Slales v. Mangano
                                     l6-cR-s40 (s-2) (JMA)

  Dcar Judgc Azrack:

        I write to seek Your Honor's consideration-not on my behalll-but on behall'ol'my wilb
 Linda. Respectfully, as presented by my attorncy in his submission, and as argued at trial, I
 engaged in no criminal conduct concerning the TOB mattcr. Morcover, Singh licd about thc
 alleged obstruction meetings, and the jury was correct to acquit me of wrongdoing concerning the
 Nassau County contracts. I will continue my fight lbr f'ull exoneration.


        But, I write to rcspectfully request that Your Honor show mercy upon Linda. I was the
 Nassau County Executive, not her. And, shc has already served an undeserved six year sentencc
 ol'enormous emotional distress, humiliation, and ruin.

        To know Linda is to love her. She literally is the first one in the room to voluntccr to help
 sonreone in need. Along with countless others, I have always admired her selfless desire to help
 those struggling with addiction. Her guidance, care and love has no doubt saved a number ol'
 peoplc struggling with this issue. and helped to improve our community. She is an incredible
 mother, wife, caretaker and friend to our two sons, my parcnts, neighbors and community.

        I could write a book on her love, achievements, and selflessness, but will sumrnarize with
 this-there is not a criminal bone or intention in Linda. She has suf'fbred greatly and painf'ully. I
 respectfully request that you permit her to continue her charitable work and rnaking positive
 changes especially with those sul'l'ering with opioid dependency.
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         I have two incrpdible sons who are decent, hardworking, law abiding people. I would like
 to think that I had a lot to do with who they have become, and perhaps that is true. But, the reality
 is that my position took an €normous toll on my time with my family, and there could be no
 question that Linda's tireless guidance and love is substantially responsible for these incredible
 young men.

         My wife has paid an indescribably painful price, and I respectfully request that Your Honor
 strongly consider this in fashioning a non-custodial sentence.

        Thank you for your thoughtful consideration.

                                               Respectfu   lly Submitted,

                                                lsl   t&tM     "lilmgano
                                               Edward Mangano
